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 1                                              THE HONORABLE JAMES L. ROBART

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 6
                          UNITED STATES DISTRICT COURT
 7                       WESTERN DISTRICT OF WASHINGTON
                                   AT SEATTLE
 8
     UNITED STATES OF AMERICA,            )
 9                                        ) Case No. 2:12-cv-01282-JLR
                            Plaintiff,    )
10                                        ) CITY OF SEATTLE’S APRIL 2019
                  v.                      ) QUARTERLY REPORT
11                                        )
     CITY OF SEATTLE,                     )
12                                        )
                            Defendant.    )
13                                        )

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 1   I.     INTRODUCTION

 2          The Consent Decree between the City and the U.S. Department of Justice imposes

 3   extensive policy, operational, and training requirements on the Seattle Police Department (SPD).

 4   Since 2012, SPD has implemented comprehensive reforms affecting nearly every aspect of its

 5   operations. Through the reform process, SPD’s culture, policies, data-driven decision-making, and

 6   accountability framework have been transformed.

 7           SPD’s recent accomplishments demonstrate that these important reforms have taken root and

 8   will endure. Most fundamentally, the recent collective bargaining agreement (CBA) reached

 9   between the City and the Seattle Police Officers Guild (SPOG) will effectuate key accountability

10   reforms that the community and City Council sought to achieve through the Accountability

11   Ordinance. As highlighted in the City’s previous filings, the Office of the Inspector General for

12   Public Safety (OIG) can now exercise its authorities under the Accountability Ordinance. In

13   addition, key provisions of the Ordinance that are intended to make the Office of Police

14   Accountability (OPA) function more efficiently and effectively now can be implemented as well,

15   such as civilianizing investigators and lengthening and clarifying the limitations period for

16   discipline. Critically, the negotiations also secured the withdrawal of SPOG’s legal challenge to

17   body-worn video policy—as a result, if an officer is in uniform, then the officer must wear video.

18   As this Court has emphasized, “any number of legislative options might fit within the parameters of

19   the Consent Decree.” Court’s Jan. 6, 2017 Order at 4 (Dkt 357). The City has adopted a robust

20   accountability framework through the Ordinance and the CBA, which was negotiated and signed

21   by the Mayor and approved by the Council.

22          Other updates contained in this report further demonstrate that SPD is not only meeting, but

23   exceeding, its legal requirements and has earned a stellar reputation as a leader among police



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 1   departments nationwide. Due to new techniques in hiring and recruitment, SPD’s officers now

 2   reflect the communities it serves. Collectively, the officers hired in 2018 are more racially diverse

 3   than the population of Seattle, reflecting both a cultural and demographic shift in the Department.

 4   SPD also continues to advance progress through its policies; SPD regularly updates its policies to

 5   ensure that they continue to incorporate national best practices and constitutional principles.

 6   Proposed revisions to its Bias-Free Policing, Employee Conduct, and Crisis Intervention policies

 7   are presented to the Court concurrently with this filing. Finally, two recent audits that are filed with

 8   this report demonstrate continued compliance with the Consent Decree requirements as to Stops and

 9   Detentions and SPD’s Early Intervention System and, moreover, provide evidence that SPD continues

10   to deliver constitutional policing. One of the ways SPD does this is by providing officers with a robust

11   program of counseling and mentoring through its Early Intervention System.

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 1   II.     BACKGROUND

 2           During Phase II, the City must maintain compliance with the Consent Decree for two years.

 3   The City must also demonstrate the ability to identify and address any obstacles to further reform. To

 4   these ends, the Court-approved Sustainment Plan (Dkt. 444-1) provides that the City will conduct self-

 5   assessments, or audits,1 to verify whether it is continuing to comply with the Consent Decree. The

 6   Sustainment Plan sets out more than two hundred deadlines detailing when the City must complete

 7   each step of each assessment through January 2020, as well as setting out requirements for SPD’s

 8   policy revisions and “outcome” reports on data related to core Consent Decree areas. Since the Court

 9   approved the Sustainment Plan on March 13, 2018, SPD has timely met all of the milestones set

10   forth in the plan.

11           The Sustainment Plan also includes a commitment to file quarterly reports updating the

12   Court on the City’s progress. The Sustainment Plan requires the City to include updates on labor

13   relations in each quarterly report. This is the fourth quarterly report.

14   III.    THE CITY HAS REACHED COLLECTIVE BARGAINING AGREEMENTS
             WITH BOTH SPD UNIONS THAT ADVANCE KEY ACCOUNTABILITY
15           REFORMS AND BUILD UPON THE PROGRESS THAT THE CITY HAS
             ACHIEVED UNDER THE CONSENT DECREE
16
             After negotiating for several years, the City has reached collective bargaining agreements
17
     (CBAs) with the Seattle Police Management Association, in November 2017, and the Seattle
18
     Police Officers Guild, in November 2018. Dkts. 425 & 512. The Court ordered briefing on these
19

20
             1
               The audits required by the Sustainment Plan are not audits in a formal sense, because they
21   do not follow auditing guidelines nor are they conducted by an outside body. Rather, in keeping
     with the two phases set out in the Consent Decree, the parties and the Monitor agreed that these
22   reports would be comprised of assessments conducted by SPD in order to demonstrate SPD’s
     ability to engage in critical self-analysis and to identify and address any obstacles to further
23   progress that may arise. One exception is that the parties and the Monitor agreed that the Office of
     the Inspector General will conduct the audit of SPD’s Force Review Board.

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 1   agreements and the potential implications, if any, for the City’s compliance with the Consent

 2   Decree, and that briefing was completed on March 6, 2019. Dkts. 504, 507, 543. The Court has set

 3   a status conference for May 15, 2019, to discuss these issues.

 4            The CBA Achieved Key Accountability Reforms

 5            Officer discipline is improved, through the clarification and, in some circumstances, the

 6   extension of the 180-day clock for OPA to investigate allegations of police misconduct, including

 7   bias complaints and serious use-of-force investigations. The CBA also provides that two sworn

 8   investigators in OPA and a sworn sergeant in SPD human resources can be replaced by civilians;

 9            The CBA also implements the accountability framework envisioned by the City’s

10   democratic leaders, by guaranteeing OIG full and unfettered access to all SPD operations. It

11   implements SPD’s body-worn video policy BWV and the great majority of the Accountability

12   Ordinance provisions (and the Guild must withdraw its unfair labor practices complaints as to

13   each).

14            The SPOG CBA also eliminates the DRB and replaces it with an updated method for

15   selecting an arbitrator, which the City anticipates will lead to faster processing of appeals.

16            The CBA Retained Both Arbitration and the Public Safety Civil Service Commission
              (PSCSC) for Disciplinary Appeals
17
              Although the CBA eliminates the DRB, it does retain arbitration as an alternative to the
18
     PSCSC for disciplinary appeals. Binding arbitration has significant advantages. As an initial
19
     matter, it is a relatively fast, inexpensive method of resolving labor disputes. Arbitration is an
20
     integral part of labor law. See, e.g. United Steelworkers of Am. v. Enter. Wheel & Car, 363 U.S.
21
     593, 596 (1960). (“[T]he arbitrators under these collective agreements are indispensable agencies
22
     in a continuous collective bargaining process.”). Because public safety employees are prohibited
23


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 1   from striking, arbitration is considered especially critical in this setting. See Elkouri & Elkouri,

 2   How Arbitration Works, Ch. 22.4 (8th ed) (Dkt. 512-8, Exhibit H).

 3          Moreover, arbitration of discipline and other disputes is a widespread method for resolving

 4   disagreements for public employees. In Seattle, for example, under all twenty-eight of the CBAs

 5   to which the City is a party, employees have the ability to challenge discipline through arbitration.

 6   This includes firefighters, utility workers, carpenters, court marshals, IT professionals, parking

 7   enforcement, and every other City employee under a CBA. The City is not aware of any CBA for

 8   public safety employees in Washington state that does not allow for arbitration of major

 9   disciplinary decisions.

10          There is no basis in fact or law to conclude that restricting disciplinary appeals to the Public
            Safety Civil Service Commission (PSCSC) would improve accountability.
11
            While some have argued to this Court that the Public Safety Civil Service Commission is
12
     preferable to arbitration for purposes of accountability, there is no basis in fact or law for that
13
     argument. First, in any system that affords due process there will be instances when disciplinary
14
     decisions are overturned. Second, history refutes the assertion that a civil service commission will
15
     overturn fewer cases than arbitrators is unsupported.
16
            The PSCSC does not have a better track record than arbitration of upholding the Chief of
17
     Police’s disciplinary decisions. In fact, the PSCSC has reversed SPD’s disciplinary terminations
18
     three times and sustained four times.2 Those numbers are comparable to arbitration; if anything,
19
     over the long run, SPD has fared slightly better in arbitrations.
20

21
        2
22       These results are publicly available at https://www.seattle.gov/public-safety-civil-service-
     commission/findings.
23


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 1          The Accountability Ordinance did not mandate that the PSCSC provide any greater

 2   deference to the Chief’s disciplinary decisions than that shown by arbitrators.3 The Ordinance

 3   provides that the decision of the Chief will be affirmed “unless the Commission specifically finds

 4   that the disciplinary decision was not in good faith for cause,” which is identical to the existing

 5   PSCSC standard. Compare AO § 4.08.105(A)(3), with SMC § 4.08.100(A). The PSCSC’s “good

 6   faith for cause” standard is comparable to the “just cause” standard used by arbitrators. See City of

 7   Seattle v. City of Seattle, 230 P.3d 640, 645-46 (Ct. App. Wash. 2010).

 8   IV.    THE COMMUNITY POLICE COMMISSION’S ROLE IS MORE CRITICAL
            THAN EVER TO ACCOUNTABILITY AND ITS MISSION REMAINS ONE OF
 9          THE FUNDAMENTAL PILLARS OF REFORM

10          As set forth in the Memorandum of Understanding, the Community Police Commission

11   (CPC) is integral to community oversight, accountability, and promoting greater transparency and

12   public understanding of the Seattle Police Department. One of its central missions is community

13   outreach and engagement in order to educate and build public trust between SPD and the

14   communities it serves. As an ambassador to, and voice of, Seattle’s communities, the Commission

15   must be a reflection of Seattle in terms of key demographics, geography, and other key

16   characteristics of the communities served.

17          On May 1, eight new members will join the Commission and more appointments are

18   expected. The new Commissioners represent a diverse cross-section of Seattle and bring new

19   energy to the Commission at this critical time in the Sustainment Period. Given that one-third of

20   the Commission will be new members, it also provides a fresh opportunity for the City to re-

21   evaluate and re-focus the Commission on its mission of engaging with communities and

22
            3
23            In fact, this interpretation of the Ordinance would bring it into conflict with the state law
     that gives the PSCSC authority to modify disciplinary decisions. See RCW 41.12.090.

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 1   facilitating community oversight of SPD. The City hopes the composition of the new

 2   Commissioners will bring a spirit of cooperation and collaboration with SPD and the other

 3   “Accountability Partners”—the Office of Police Accountability and Office of the Inspector

 4   General. In so doing, the City plans to convene the Accountability partners around a visioning and

 5   strategy retreat that strategically maps out the work for present and beyond the sustainment period.

 6   The City believes the CPC’s role is critical now and that it will be even more so after the

 7   Sustainment Period ends. The City will redouble its efforts to support and partner with CPC and

 8   the other Accountability partners to make the Commission even more relevant and impactful to

 9   building public trust and confidence.

10   V.     ENGAGING WITH THE CITY’S DIVERSE COMMUNITIES CONTINUES TO
            BE OF THE UTMOST PRIORITY FOR SPD
11
            Diversity Hiring Numbers for 2018
12
            When considering disparities in terms of how police contacts affect the City’s diverse
13
     communities, the role of recruiting and retaining a diverse police force that reflects the composition
14
     of the community must be emphasized. Significant changes in recruitment and hiring implemented
15
     by the Department have produced results. Thus, SPD’s 2017 and 2018 hiring were more diverse
16
     than Seattle as a whole. The percentage of new hires who are people of color in recent years is as
17
     follows:
18
            2014:           22%
19          2015:           30%
            2016:           30%
20          2017:           35%
            2018:           36%
21

22          Throughout 2018 and into the present, the Department has remained focused on

23   sustainment of earlier improvements and implemented additional outreach strategies. For example,



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 1   among other changes, SPD developed a “recruiting cadre” of department officers who are trained

 2   and serve as recruiting liaisons in their precincts and in the community, allowing for wider reach

 3   and more direct connections, and it increased the quality and quantity of outreach engagement at

 4   local events.

 5          Training to Address Implicit Bias and the History of Racism

 6           SPD is a leader in innovative, socially conscious training, and SPD’s training section

 7   continues to evolve its curriculum with the goal of building trust between its officers and the

 8   community.

 9          In 2019, for the first time, all sworn officers will be required to complete courses in African

10   American history and the history of Seattle’s Central District. SPD has worked with the Northwest

11   African American Museum to develop this training, which will include, among other topics, a

12   guided tour of the museum’s galleries and a facilitated discussion regarding cultural diversity and

13   the importance of culturally relevant policing.

14          In addition, SPD is working in partnership with the Washington State Criminal Justice

15   Training Commission to provide officers with high quality training on implicit racial bias. For the

16   first time in 2019 the Department has mandated that all sworn officers complete an eight-hour4

17   class on implicit racial bias that is offered by the Washington State Criminal Justice Training

18   Commission. The training is given by Dr. Bryant Marks, a Professor of Psychology at Morehouse

19   College and a nationally recognized training expert on diversity and implicit bias.

20

21

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            4
              This training replaces the four-hour course on implicit racial bias that officers were
23   previously required to take. See generally Monitor’s Mem. Re Bias-Free Policing Training (Dkt.
     176).

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 1          These new training requirements are in addition to the trainings that SPD continues to

 2   provide in conjunction with the Seattle Holocaust Center. This course focuses on interactions

 3   between law enforcement and minority communities and cultural sensitivity.

 4          Creation of a New Collaborative Policing Bureau

 5          SPD recently created a new Collaborative Policing Bureau. As law enforcement,

 6   nationwide, has increasingly been called upon to assume a leadership role at the intersection of

 7   public health and public safety, SPD recognized the opportunity to provide more coordinated

 8   services by centralizing the Department’s many community-based initiatives within one

 9   bureau. The Collaborative Policing Bureau is overseen by an Assistant Chief, highlighting the

10   importance of its mission. The Bureau brings together the Navigation Team/Homeless Outreach,

11   the Crisis Response Section, and the Community Outreach Section, and serves a vital role in

12   enhancing collaboration between SPD and the many social service agencies that provide both on-

13   the-ground assistance and on-going care for many of Seattle’s most vulnerable citizens.

14          Officers throughout the Department continue to embrace their important role in the

15   community, as reflected in the continuing high rate of advance crisis intervention training among

16   patrol and in SPD’s micro-community policing plan priorities. The Collaborative Policing Bureau

17   builds on these accomplishments and reflects the Department’s commitment to focused attention

18   on sustaining community relationships, open communication, and building trust as the City works,

19   collectively to address the crises around homelessness, substance use disorder, and mental health

20   concerns. SPD’s commitment in this area demonstrates yet further action to ensure the Department

21   keeps pace with society’s rapidly evolving expectations for police officers.

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 1   SPD’s Disparity Review

 2          Concurrently with this quarterly report, the City submits SPD’s Disparity Review. This

 3   Disparity Review is undertaken to carry out the Seattle Police Department’s commitment to

 4   eliminate unwarranted racial disparities in police contacts. This report identified disparities in the

 5   use of force, investigative stops, and frisks. These activities are particularly important areas in

 6   which to study and address unwarranted racial disparity. If an officer uses unreasonable or

 7   unnecessary force against a member of the community, it violates the person’s civil rights and

 8   dignity. Investigative stops and frisks are critical in light of concerns previously raised in the U.S.

 9   Department of Justice’s 2011 investigation and more recent findings by the Monitor.

10          SPD recognizes that it alone cannot explain or address the many factors that underlie the

11   tremendous disparities that pervade not only the criminal justice system but distributions in

12   income, education, health, and housing throughout this country. SPD’s goal for this study is to

13   identify if there are unwarranted racial disparities that result from the Department’s own practices

14   which can be addressed by policy changes. This report contains initial results, with a follow-on

15   study due to the Court on December 31, 2019. As detailed in policy, SPD’s efforts to identify and

16   eliminate unwarranted racial disparities will continue beyond the Consent Decree.

17          SPD’s Bias-Free Policing Policy Affirms These Commitments

18          As part of its reform efforts under the Consent Decree, SPD worked with the court-

19   appointed monitor, the U.S. Department of Justice, and the Community Police Commission to

20   adopt a strong policy on bias-free policing5 that goes beyond the requirements of the Consent

21
            5
22             Available at https://www.seattle.gov/police-manual/title-5---employee-conduct/5140---
     bias-free-policing. Importantly, under the Bias-Free Policing Policy any officer who hears a
23   complaint related to biased policing is required to call a supervisor to respond to the scene in person.


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 1   Decree. On June 11, 2015, the Court approved this policy (Dkt. 205), which defines “bias-based

 2   policing” as “the different treatment of any person by officers motivated by any characteristic of

 3   protected classes under state, federal, and local laws as well as other discernible personal

 4   characteristics of an individual.” The policy reinforces the Department’s values of providing

 5   services and enforcing the laws in a professional, nondiscriminatory, fair, and equitable manner

 6   and expresses the Department’s commitment to study and eliminated unwarranted racial

 7   disparities:

 8                  The Seattle Police Department is committed to eliminating policies
                    and practices that have an unwarranted disparate impact on certain
 9                  protected classes. It is possible that the long-term impacts of
                    historical inequality and institutional bias could result in
10                  disproportionate enforcement, even in the absence of intentional
                    bias. The Department’s policy is to identify ways to protect public
11                  safety and public order without engaging in unwarranted or
                    unnecessary disproportionate enforcement.
12
                    In consultation with the Community Police Commission, and the
13                  Office of the Inspector General for Public Safety, the Department
                    shall periodically analyze data which will assist in identification of
14                  SPD practices – including stops, citations and arrests – that may
                    have a disparate impact on particular protected classes relative to
15                  the general population.

16
     SPD’s Bias-Free Policing policy further provides that, “[w]hen unwarranted disparate impacts are
17
     identified and verified, the Department will consult with neighborhoods, businesses, community
18
     groups, and/or the Community Police Commission, and the Office of the Inspector General for
19
     Public Safety, to explore equally effective alternative practices that would result in less
20
     disproportionate impact.”
21

22

23   All such complaints must be documented and investigated. In appropriate cases, bias allegations
     are forwarded to OPA for review or investigation.

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 1          As part of its commitment to bias-free policing, SPD is proposing improvements to the

 2   process for handling allegations of bias. SPD made revisions intended to ensure the adequacy of

 3   bias investigations under circumstances in which the person making the allegation left the scene

 4   prior to a supervisor’s arrival or declined to speak with the supervisor. The proposed revisions

 5   require that an officer who receives a bias complaint must ask the person to (voluntarily) provide

 6   contact information before he or she leaves the scene. If the person leaves the scene without talking

 7   to a supervisor, then the supervisor must make meaningful attempts to contact them afterward. If

 8   the complainant is still unavailable or unresponsive, then the supervisor must review any body-

 9   worn video and in-car video of the incident.

10   VI.    SPD WORKED WITH DOJ AND THE MONITOR TO DEVELOP PROPOSED
            POLICY REVISIONS THAT REPRESENT IMPORTANT, CONTINUED
11          PROGRESS

12          The SPD Audit Policy and Research Section (APRS) reviews all Department policies on a

13   three-year cycle. The Consent Decree-mandated policies, which are especially critical, are being

14   reviewed annually. During the last quarter, two of these policy reviews were scheduled and are

15   discussed below. In addition, the Department completed revisions to its Employee Conduct Policy

16   and issued an interim policy directive regarding the use of data analytics by supervisors. The

17   Monitor and DOJ approved all of these changes and were particularly instrumental in the second

18   two.

19          Interim Directive Regarding Data Analytics Platform

20          Based on feedback from the Monitor, SPD recently issued a policy directive that

21   establishes new requirements for Captains, Lieutenants, and Sergeants to regularly review the

22   squad and officer performance data available within SPD’s data analytics platform (DAP).

23   Through the DAP and other records management systems, SPD is able to accurately collect and



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 1   track the data required by the Consent Decree. The wealth of data in the DAP on use of force,

 2   crisis response, and stops and detentions, is also relevant to risk management and performance

 3   management. This sophisticated data management tool allows supervisors to track and analyze

 4   data and identify trends for purposes of employee supervision and management. This new directive

 5   will encourage direct engagement between supervisors and their direct reports throughout the

 6   chain of command. It will also enable lieutenants and captains to view information at the individual

 7   officer level more frequently and in more detail.

 8          Proposed Changes to Crisis Intervention Policy

 9          In addition to DOJ the Monitor, and CPC, the Crisis Intervention Committee6 also reviewed

10   the proposed changes to the Crisis Intervention policy. Only minor revisions to this policy are

11   proposed. A number of very small edits were to make language more clear or precise. A note of

12   clarification is added to 16.110-POL-5, which addresses taking a person into custody based on an

13   order from the person’s designated crisis responder (typically a mental health professional). The

14   added language clearly sets out the boundaries of an officer’s legal authority in that situation; for

15   example, such an order does not give an officer authority to enter a person’s house without consent.

16           Proposed Changes to Employee Conduct Policy

17          The proposed revisions to the Employee Conduct Policy, title sections 5.001-003,

18   accomplish two important goals. First, they delineate clear lines of responsibility with respect to

19   serious policy violations, which must be referred to OPA for investigation. Second, they empower

20

21
            6
22            As required by the Consent Decree, SPD established the Crisis Intervention Committee,
     a regional interagency coalition of social service providers, mental health experts, law enforcement
23   and judicial representatives.


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 1   supervisors to address performance deficiencies through mentoring, counseling, and setting clear

 2   expectations.

 3          These changes continue SPD’s work to address feedback from the Monitoring Team and

 4   other stakeholders that supervisors should have greater responsibility to address minor policy

 5   violations. See e.g., Monitor’s Fourth Systemic Assessment at 5-6. Effective supervisory

 6   engagement requires the ability to handle relatively small performance issues quickly and

 7   informally, through feedback, instruction, or training. It has the potential to impede on-the-job

 8   learning and the supervisor-employee relationship if all performance matters must be submitted

 9   through the formal OPA process.

10          Section 5.002 governs the responsibilities of employees concerning alleged policy

11   violations. Substantial revisions are proposed to this section. To provide greater guidance to

12   supervisors regarding the matters that must be referred to OPA, it defines a new term, “Serious

13   Policy Violation,” clarifies the categories of misconduct that qualify as Serious Policy Violations,

14   and mandates that all conduct within these categories must be referred to OPA. Under the

15   proposed revisions, Serious Policy Violations include: use of force that is not reasonable,

16   necessary, and proportional; violations of constitutional protections; criminal violations;

17   dishonesty; bias-based policing; and failure to cooperate in an internal investigation. The revised

18   version of 5.002 also defines another new term, “Performance Deficiencies,” as failures to meet

19   the Department’s performance expectations, including any policy violations that are not

20   categorized as Serious Policy Violations. Performance Deficiencies are handled internally by the

21   Chain of Command, rather than being referred to OPA.7

22
            7
23           Repeated policy violations are still referred to OPA, even if the violation is not a Serious
     Policy Violation. See revised 5.002-POL-4.

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 1          The proposed revisions to 5.002 also create a new screening procedure for

 2   “Unsubstantiated Allegation of Serious Misconduct.” This process is employed when a supervisor

 3   investigates an alleged Serious Violation Policy and determines that the evidence refutes the

 4   allegations. For example, there is an allegation of excessive force, and the officer’s body-worn

 5   video definitely establishes that the officer made no physical contact whatsoever with the

 6   complainant. Under current policy, such an allegation would still be referred to OPA for

 7   investigation. Under the revised policy, the supervisor will review the incident with a lieutenant or

 8   captain, document the incident, and then send it to OPA for screening. OPA will confirm that the

 9   complaint is unsubstantiated and then return it to the chain of command, instead of conducting a

10   full investigation. This revision will allow OPA’s investigative resources to be better focused. OIG

11   began tracking the new screening procedure in 5.002 for Unsubstantiated Allegations of Serious

12   Misconduct when this procedure was being tested as a pilot program, and OIG will continue to

13   exercise oversight going forward.

14          The revisions to 5.003 are also significant. The existing version of 5.003, titled “Frontline

15   Investigations,” established a process for SPD supervisors to handle minor policy violations

16   (which are redefined as Performance Deficiencies in the proposed version of 5.002) internally,

17   rather than referring all violations to OPA. The new proposed changes maintain this purpose, but

18   clarify the supervisor’s role embraces coaching, mentoring, and training—in addition to making

19   appropriate referrals to OPA.

20          The proposed version of 5.003 is titled Performance Counseling Review. The new policy

21   clarifies the role of supervisors in addressing Performance Deficiencies. It directs supervisors to

22   counsel and mentor employees to address Performance Deficiencies, and identifies specific, non-

23   disciplinary remedial actions that supervisors can take, such as training, direct coaching, and


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 1   mentoring. In the revised policy, Performance Deficiencies are documented and logged in SPD’s

 2   management system, BlueTeam, instead of in the Performance Appraisal System (where they are

 3   currently recorded). The BlueTeam records will ensure transparency and enable auditing of this

 4   new system to ensure that it is used appropriately. For the first six months under the new policy,

 5   OPA will monitor all of the Performance Deficiencies being documented. The new process in

 6   5.003 for handling Performance Deficiencies within the chain of command will be routinely

 7   audited by OIG to ensure that they are being consistently and appropriately handled.

 8   VII.   SPD CONTINUES TO BE A LEADER AMONG POLICE DEPARTMENTS
            NATIONWIDE WITH REGARD TO DATA ANALYTICS
 9
            A. SPD’s Data Analytics Platform (DAP)
10
            As noted in previous reports, SPD procured and implemented a customized data analytics
11
     platform (DAP), which extracts data from the Department’s records management systems and
12
     Computer Aided Dispatch. The DAP integrates data and allows it to be systemically analyzed,
13
     contextualized, and displayed. The DAP allows SPD, not only to search data relating to use of
14
     force, crisis responses, and Terry stops, but also to analyze the relationships between this
15
     information and information that is stored in other databases—such as information on arrests,
16
     charges, and 911 calls. The Department’s researchers work closely with the operational
17
     commanders to address questions relevant to policy and strategy; for example, they use
18
     “dashboards” powered by the DAP to monitor real-time trends. SPD also uses DAP for its annual
19
     reports to the public to analyze data and present it visually. Significantly, the DAP also enables
20
     most of the data and analysis for all of SPD’s Consent Decree-related audits and assessments.
21
            Significant enhancements and additions to the DAP, referred to internally as “DAP 1.1,”
22
     are scheduled to be implemented in June 2019. DAP 1.1 will ensure more detailed documentation
23
     of all detentions—going far beyond the requirements of the Consent Decree—by incorporating

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 1   new requirements for officers to record information about community caretaking and booking

 2   activities. Another example of an enhancement is that DAP 1.1 will link officers’ reports on Terry

 3   stops and interactions with people in crisis to a Master Name Index in order to more frequently

 4   and accurately identify repeated contacts. Collectively, these upgrades will complement the new

 5   capabilities of Mark43 and improve and expand SPD’s already advanced data analytics.

 6          B. SPD is scheduled to go live with a next-generation records management system on May
     7, 2019.
 7
            It was neither advisable nor feasible for SPD to replace all of its records management
 8
     systems (RMS) at the same time that it rolled out a program as complex as the DAP, which was
 9
     first implemented in mid-2017 and to which SPD has continued to add new capabilities throughout
10
     2018. Accordingly, SPD planned for its new, highly customized RMS, called Mark43, to be
11
     implemented in 2019. With Mark43, the DAP will be able to draw a wider range of data more
12
     quickly and with a greatly reduced requirements for time-consuming quality control efforts (i.e.,
13
     “data governance”). Currently, the DAP pulls data from SPD’s various legacy RMS. In addition,
14
     many of the reports that officers make about their policing activities must be filled out in a separate
15
     template and then attached or uploaded, rather than input directly into the legacy RMS. Mark 43
16
     will replace these legacy systems with a single, user-friendly system into which officers can type
17
     their reports directly. In addition, Mark43 is more user friendly and it contains significant quality
18
     control improvements, such as error alerts and protocols that do not allow incomplete reports to
19
     be submitted. Examples of the benefits that Mark43 will deliver include:
20
        •   Reportable incidents—such as a use of force, Terry stop, or crisis contact—can no longer
21          be submitted by an officer without completing the disposition field, eliminating the small
            number of incidents for which disposition (i.e., the ultimate outcome, such as an arrest)
22          cannot be immediately retrieved.

23      •   Officer’s documentation of Terry stops and crisis contacts will be seamlessly linked to the
            records of the corresponding Computer Aided Dispatch event and General Offense Report.

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 1          In the future, once Mark43 has been running smoothly for several months, officers’ use of
            force reports will also be input directly into Mark43 and linked to other materials in the
 2          same manner.

 3          As with any other major software change or upgrade it is expected that some bugs will

 4   need to be worked out in the initial weeks. However, in short order, Mark43 is expected to improve

 5   the speed, accuracy, and thoroughness with which data about SPD’s policing activities can be

 6   searched and retrieved.

 7   VIII. THE OFFICE OF POLICE ACCOUNTABILITY AND THE FORCE REVIEW
           BOARD AND UNIT CONTINUE TO ENSURE THAT POLICY VIOLATIONS
 8         ARE IDENTIFIED AND ADDRESSED

 9          SPD Force Review Board (FRB) and Force Review Unit (FRU)

10          The FRB and FRU review all uses of force to determine if they were compliant with SPD’s

11   Use of Force Policy. A brief summary of internal review is provided here, while the complete

12   procedures are specified in Title 8 of the SPD Manual. After using Type I force, an officer must screen

13   the incident with a sergeant and complete a use of force report. The sergeant investigates the incident

14   and then elevates the review up the chain of command. Type II uses of force are reviewed in depth

15   first by an administrative lieutenant, through the chain of command to the section captain, and then by

16   the Force Review Unit (described below). Type III uses of force are investigated by a specially trained

17   unit called the Force Investigation Team. The Force Review Board (described below) provides an

18   additional layer of review for all Type III uses of force, to include officer-involved shootings, and the

19   most serious Type II uses of force.

20   FRB is “the Department’s hub of internal accountability, analysis, and continual improvement with

21   respect to force.” Monitor’s Second Systemic Assessment, Dkt. 247 at 4.The FRB is a select group

22   of SPD personnel who are specially trained to investigate officer uses of force which meets regularly

23   to make determinations as to (1) whether a use-of-force investigation is thorough and complete; (2)



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 1   whether the force was compliant with SPD policy, and consistent with training, and core principles;

 2   and (3) whether any broader, systemic issues need to be addressed with respect to policy, tactics,

 3   equipment, or otherwise. FRB reviews not just the force itself, but examines all tactics and decision-

 4   making starting from the beginning of the incident, including all events that led up to the use of

 5   force, and all those that followed the use of force.

 6          By policy, the FRB reviews all cases in which Type III force is used, including all officer

 7   involved shootings. The FRU, comprised of a captain, a lieutenant, a sergeant, and two detectives,

 8   reviews all Type II uses of force. When certain factors are present in a Type II case—such as the use

 9   of less-lethal tools or use of a canine—the FRU places it on the calendar to be reviewed by the FRB.

10   In the first quarter of 2019, the FRB and FRU reviewed 39 cases.

11                                Number of Cases Reviewed By Quarter:

12                                 Quarter                      FRB             FRU
                                    Q1 (1/1/18-3/31-18)                 41             9
13                                Q2 (4/1/18 – 6/30/18)                 41            10
                                     Q3 (7/1/28-9/30/18                 45             5
14                               Q4 (10/01/18-12/31/18)                 59            20
                                    Q1 (1/1/19-3/31/19)                 28            11
15

16
            A total of 105 officers were involved in the 39 cases reviewed by FRU and FRB this
17
     quarter. The numbers below represent the number of officers involved across the cases,
18
     aggregated, and the determination by FRB and FRU as to whether each officer’s actions were
19
     approved as consistent with policy and training.
20

21

22

23


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 1                        Q1 2019 Most Serious Type of Force Used in Each Case

 2                                          Type I                 0
                                            Type II               36
 3                                         Type III                3
                                       Officer Involved            0
 4                                         Shooting
                                      In-Custody Death             0
 5                                           Total                39

 6
                                 Q1 2019 Force Review Findings by Officer:
 7
                                         Approved                 84
 8                                     Not Approved                1
                                      Referred to OPA              9
 9                                         N/A8                   11
                                           Total                 105
10
             For 84 of the officers reviewed by the FRB and FRU in the fourth quarter of 2018, the force
11
     used was found to be reasonable, necessary, proportional, and in conformance with the
12
     Department’s Use of Force Policy. In 9 instances, a matter was referred to OPA, and the FRB/U
13
     made no determination, per policy. Of the 9 referrals to OPA, the chain of command generated 6
14
     of them, and 3 referrals were generated directly by the subject of force.
15
             Office of Police Accountability
16
             The Office of Police Accountability (OPA) has authority over allegations of misconduct
17
     against SPD employees relating to SPD policy and federal, state, and local law. It investigates and
18
     makes recommended findings to the Chief of Police. The organization is led by a civilian director and
19
     deputy staff, while its investigations are currently carried out by SPD sergeants. OPA is continuing to
20
     civilianize its investigators.
21

22
             8
              In the cases reviewed by FRB/U, 11 officers were involved in tactics and decision making
23   who did not use force. In reviewing the actions of these officers, FRB/U made no findings on the
     use of force.

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 1          During the first quarter of 2019, OPA received 203 contacts. Contacts include “external”

 2   complaints from members of the community and “internal” referrals from SPD employees

 3   (primarily the chain of command). Sixty percent of the contacts in the first quarter were external

 4   and 40% were initiated internally or forwarded by SPD. A lack of professionalism was the most

 5   frequent misconduct allegation made to OPA, and it comprised 15% of all allegations received.

 6   Seventy-four of 203 contacts classified by OPA in Q1 of 2019, or 36%, were classified for

 7   investigation. In 11% of the cases in which findings were issued in the first quarter, OPA

 8   recommended that at least one allegation be sustained. The Chief of Police did not overturn any

 9   OPA recommended findings.

10           In addition to investigating allegations of misconduct, OPA recommends policy changes

11   to SPD when its investigations indicate that issues with Department policy, rather than actions of

12   individual officers, gave rise to a complaint. Those investigations result in a finding of “Not

13   Sustained – Management Action” and form the basis of OPA’s management action

14   recommendations. In the first quarter of 2019, OPA issued nine new management action

15   recommendations.

16   IX.    FIRST QUARTER DATA ON USE OF FORCE AND CRISIS INTERVENTION IS
            CONSISTENT WITH PREVIOUS QUARTERS, EXCEPT FOR A DECREASE IN
17          TYPE I FORCE

18          This section provides data on SPD’s use-of-force and crisis intervention practices for the first

19   calendar-year quarter of 2019, which runs from January 1, 2019, to March 31, 2019. The report

20   does not undertake to analyze or contextualize the data for two reasons. First, it would be

21   speculative to infer trends or draw comparisons based on one quarter of cross-sectional data.

22   Second, the Sustainment Plan, approved by the parties and the Court, sets forth a series of annual

23   audits and outcome reports which contain the Department’s analyses and conclusions.


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 1            In addition to the numbers below, comprehensive data on these topics are available to the

 2   public       through       the   Department’s       “dashboards”      on      its        webpage            at

 3   https://www.seattle.gov/police/information-and-data/public-data-sets. The public dashboards can be

 4   used to analyze and display data from numerous, disparate sources within SPD through the DAP.

 5            A. Use of Force

 6            Three hundred twenty-four uses of force were reported in Q1 2019. Because of the way

 7   “use of force” is defined (one officer using force against one subject), a single incident often

 8   results in multiple reported uses of force.

 9            In the first quarter of 2019, two hundred forty-four (75%) of the reported applications of

10   force involved no greater than low-level, Type I force.9 Sixty-seven (21%) involved Type II force

11   and 7 (2%) involved Type III force. There were two officer-involved shootings counted as 6 unique

12   uses of force because six officers discharged their firearm; one incident was fatal. See Figure 2.

13            One notable change is a decrease in Type I force, from 457 in the fourth quarter of 2018 to

14   244 in the first quarter of 2019. As shown in Figure 1, the number of this quarter is lower than for

15   any quarter of 2018. It is too early to conclude the reason for this decrease. However, as noted

16   previously in SPD’s 2018 Use of Force Outcome Report, reported uses of Type I force increased

17   by 43% between 2017 and 2018. Dkt. 524-1 at 6. After a preliminary investigation, SPD concluded

18   that the primary cause of that increase was likely officers’ overreporting of discomfort caused by

19   handcuffing. Id. Under Court-approved policy revisions that took effect on January 1, 2019,

20   handcuffing discomfort is no longer reportable as force and is tracked separately. Dkt. 471-1 at 43,

21
              9
22            The types of force are defined in Title 8 of the SPD manual. In brief: Type I is low-level
     force that may involve transitory pain. Type II force causes or is reasonably expected to cause
23   physical injury greater than transitory pain but less than great or substantial bodily harm. Type III
     force causes or is reasonably expected to cause great or substantial bodily harm.

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 1   48; 477. In addition, SPD deployed new handcuffs with beveled edges that are made of lighter-

 2   weight aluminum; these handcuffs are equally effective and more comfortable. Dkt. 524-1 at 6.

 3   These actions may explain the decrease in reported Type I force.

 4                                 Figure 1. Use of Force By Quarter

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11                              Figure 2. Q1 2019 Types of Force Used:

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 1           In the context of overall encounters with the community, force is used rarely. During the

 2   first quarter of 2019, the computer-aided dispatch (CAD) database recorded 96,536 unique

 3   events to which officers were either called by a dispatcher or which officers observed or were

 4   alerted to while on patrol. Three hundred and one of these events involved one or more

 5   reportable applications of force. That means less than one-third of one percent of all events

 6   involved any use of force. Seventy-nine (approximately eight one-hundredths of one percent) of

 7   the 96,536 unique CAD events ultimately involved a use of force greater than Type I (i.e., Type

 8   II or Type III).

 9           The demographic characteristics of subjects of force for the quarter are presented below in

10   Figure 3.

11                             Figure 3. Q1 2019 Race of Subjects of Force

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13

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19           B. Crisis Intervention and Use of Force

20           During the first quarter of 2019, officers reported 2,701 incidents involving a person in

21   crisis. Officers used force in forty-five of those incidents (less than 2%). The breakdown of types

22   of force used in crisis responses is similar to the breakdown for all uses of force, although Type

23   II force is slightly more frequent.


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 1                           Figure 4. Q1 2019 Use of Force in Crisis Events:

 2

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12
            Of all the crisis incidents in the quarter, approximately 16% were resolved by voluntary
13
     commitment or by referral to or notification of a community or social service support agency or
14
     shelter. The most common disposition was a decision to detain the person for their own safety
15
     under the Involuntary Treatment Act (34%). The second most common resolution was “No Action
16
     Possible or Necessary,” which means the person in crisis had left the scene or did not pose an
17
     imminent threat of self-harm or harm to others (19%). See Figure 5 below.
18

19

20

21

22

23


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 1                           Figure 5. Q1 2019 Disposition of Crisis Contacts:

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11   Note: Percentages total more than 100% because a crisis contact often leads to more than one
     disposition.
12
     X.     SPD HAS TIMELY AND                    SUCCESSFULLY            COMPLETED            ALL        FIVE
13          SCHEDULED AUDITS

            Since March, the parties and the Monitor have collaborated on developing methodologies for
14
     the Sustainment Period audits. Starting after the Mayor’s appointment of the City’s first Inspector
15
     General for Public Safety, her office began to contribute to the methodologies as well. In keeping
16
     with its deadlines, in previous quarters, the City has filed successfully completed audits with the
17
     Court, addressing the Consent Decree’s requirements in the areas of supervision; the reporting, review
18
     and investigation of force; and crisis intervention and the use of force against people in crisis. Dkts.
19
     497-1 & 497-1, 511. These audits, and the independent verification of DOJ and the Monitoring Team,
20
     demonstrate sustainment compliance with the relevant Consent Decree requirements.
21
            During the past quarter, SPD completed two additional audits:
22

23


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 1          Stops and Detentions Audit

 2          This audit evaluated the data on temporary, investigative detentions known as Terry

 3   stops.10 Its findings demonstrate that the vast majority of stops and frisks conducted by SPD

 4   officers meet constitutional requirements. Detectives from SPD’s Audit, Policy, and Research

 5   Section (APRS) conducted a review of a random sample of one-third of all contacts reported as

 6   Terry stops during the period. They determined that, in 93.5% of the stops, the officer’s report

 7   (called a “Terry template”) contained a narrative that documented adequate reasonable suspicion

 8   for the stop. Further review was conducted of a small sample of the remaining 6.5% of stops for

 9   which the template lacked documentation of adequate reasonable suspicion; in more than half of

10   these stops, adequate reasonable suspicion was documented in the accompanying general offense

11   report. The Monitor and the U.S. Department of Justice each performed an independent validation

12   of these findings and concluded that SPD continues to maintain compliance with the relevant

13   Consent Decree requirements. This audit was submitted to the Court on March 8, 2019. Dkt. 547

14          Early Intervention System Audit

15          SPD has also demonstrated sustained compliance with the Consent Decree requirements

16   related to its Early Intervention system (EIS). Paragraph 157 requires SPD to use an EIS for risk

17   management purposes. In keeping with this requirement, SPD adopted and maintains an EIS that

18   is threshold based. The threshold is the number of events and the time period that result in an EIS

19

20          10 An investigative stop, or “Terry stop,” is a temporary, investigative detention. It occurs
     when an officer briefly detains a person for the purpose of investigating a crime. A Terry stop falls
21   short of an arrest and does not require probable cause, but it does require that the officer be able
     to identify specific, objective facts which support a reasonable suspicion that the person
22   committed, is committing, or is about to commit a crime. An officer may conduct a frisk, or pat-
     down, as part of a stop only if the officer has reasonable suspicion that the subject is armed and
23   dangerous. The legal authority for investigative stops and frisks was explained by the U.S.
     Supreme Court in Terry v. Ohio, 392 U.S. 1 (1968).

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 1   “alert” for an officer. For example, the threshold for preventable vehicle collisions is 2 collisions

 2   within 6 months. When an officer receives an alert, the EIS Coordinator reviews it and then,

 3   depending on the circumstances, the officer’s supervisor may complete an assessment or develop

 4   a mentoring plan for the officer.

 5          The Consent Decree requires SPD to regularly monitor, review, and adjust, where

 6   appropriate, the EIS events and thresholds to ensure that it is meeting its objectives. ¶¶ 157-

 7   58, 163. As described in the Audit, SPD has continued to fulfill these requirements.

 8          The EIS has been successful at developing supervisory skills and providing effective

 9   coaching and mentoring to officers. Each assessment that is completed for an officer who receives

10   an alert requires the officer and his or her supervisor to meet in person to discuss the incidents that

11   caused the alert. These assessments lead to a large volume of active, engaged supervision that

12   otherwise would not have occurred. Approximately 10% of assessments result in an employee

13   being placed on a mentoring plan; these plans require supervisors to problem solve and engage

14   with their employees on an ongoing basis, often over a period of several months. The EIS

15   Coordinator serves as an important resource to new supervisors who seek to develop their skills in

16   performance management and mentoring.

17          In addition to identifying successes of the EIS, SPD also identified areas for improvement

18   and implemented solutions to address them. In order to evaluate the effectiveness of EIS in

19   achieving its risk management objectives, SPD partnered with a team of researchers at Washington

20   State University to compare overall officer performance across a series of behaviors, between a

21   group of officers who received an EIS alert and a group of officers who did not. SPD also

22   conducted internal focus groups with officers. Ultimately, the Department concluded that its

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 1   current EIS thresholds caused too many alerts for officers who are more proactive and who are

 2   assigned to work in areas with a higher volume of calls for service.

 3          To address this issue, SPD undertook a major effort to reform the EIS program and related

 4   policies. This work was undertaken in consultation with the Monitor and DOJ. The policy revisions

 5   were approved by the Court and took effect on January 1, 2019. Dkts. 502 & 510. Notably, the

 6   triggers for use of force are adjusted so that they are still based on percentages, but now are also

 7   subject to a baseline number of uses of force at or beneath which there will be no alert. For Type

 8   I force, the trigger is still the top 1% of officers, with a new baseline of five incidents. Similarly,

 9   for Type II the percentage stays at 5%, with a new baseline of three incidents. The adjustments are

10   intended to exclude from review the officers who fall within the top percentages for use of force,

11   but still have used force very rarely (to account for the fact that Department-wide the rate of force

12   used is extremely low).

13          The Monitor and the U.S. Department of Justice reviewed a sample of SPD’s EIS

14   assessments and mentoring plans, interviewed the EIS coordinator, and concluded that SPD

15   continues to maintain compliance in this area. This audit was submitted to the Court on April 15,

16   2019. Dkt. 550.

17   XI.    CONCLUSION

18          As measured by the parties’ agreed-upon benchmarks for evaluating compliance—the audits—

19   SPD’s performance is unquestionably strong. The Department has demonstrated continued

20   compliance in all of the areas evaluated thus far. But mere compliance with the Consent Decree is not

21   the benchmark that the City or the Department have set for themselves. Rather, the City is firmly

22   committed to progress and continuous improvement. Since the Court’s determination that the City was

23   in full and effective compliance, the City and SPD have continued to make improvements in key areas.



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 1   The SPOG CBA achieves key advances in accountability and discipline. SPD continues to make

 2   strides in engaging with the diverse communities it serves, with its recent diversity hiring success as

 3   one notable example. The parties and the Monitor continue to work collaboratively on revising and

 4   improving SPD’s policies to ensure that the Consent Decree reforms are both effective and durable.

 5   The extensive record before the Court documenting SPD’s accomplishments throughout the

 6   Sustainment Period demonstrates that the City continues to meet and exceed the requirements of the

 7   Consent Decree.

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 1   DATED this 30th day of April, 2019.

 2
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 3
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 1                                   CERTIFICATE OF SERVICE

 2          I hereby certify that on April 30, 2019, I electronically filed the foregoing with the Clerk

 3   of the Court using the CM/ECF system, which will send notification of such filing to the following:

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18

19          DATED this 30th day of April, 2019, at Seattle, King County, Washington.

20

21                                                        /s/ Kerala Cowart
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22                                                        Assistant City Attorney
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